
675 S.E.2d 345 (2009)
Janell Wylma McMickle BRYANT, Employee
v.
TAYLOR KING FURNITURE, Employer,
Wausau Insurance Companies, Carrier.
No. 167PA08.
Supreme Court of North Carolina.
May 1, 2009.
Randy D. Duncan, Hickory, for plaintiff-appellant.
Hedrick, Gardner, Kincheloe &amp; Garofalo, L.L.P., by Allen C. Smith and Jennifer L. Gauger, Charlotte, for defendant-appellees.
PER CURIAM.
DISCRETIONARY REVIEW IMPROVIDENTLY ALLOWED.
